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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
    Plaintiff,                                    )
                                                  )
            vs.                                   ) Case No. 4:19 CR 0367 ERW/JMB
                                                  )
JOHN RALLO,                                       )
                                                  )
      Defendant.                                  )


                      ORDER CONCERNING PRETRIAL MOTIONS

       IT IS HEREBY ORDERED that forthwith the government shall give notice to the

defendant of its intention to use specific evidence at trial pursuant to Rule 12(b)(4)(B), Federal

Rules of Criminal Procedure.
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       IT IS FURTHER ORDERED that forthwith each party may propound to the opposing

party, and may file with the court, any request for pretrial disclosure of evidence or information.

Not later than May 17, 2019, the parties shall respond to any such requests for pretrial

disclosure of evidence or information and may file with the court a copy of any such response.

To avoid a proliferation of documents, to the extent practicable, all such requests for disclosure

and the responses thereto shall be contained in one request document or in one response

document, with each separate item of information or evidence discussed being a subpart of said

document.

       At the arraignment defendant's counsel made a motion for additional time to file pretrial

motions. Defendant's counsel has not had the opportunity to review discovery nor had time to

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 Any motion for an extension of any of the following deadlines or any request for a continuance
of a setting shall include information relevant to findings required by the Speedy Trial Act,
specifically, 18 U.S.C. § 3161(h).
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investigate the evidence nor had an opportunity to discuss it with defendant nor had time to

decide whether or not to file pretrial motions. The court finds that to deny defendant's motion

for additional time would deny counsel for defendant the reasonable time necessary for effective

investigation and preparation of pretrial motions, taking into account the exercise of due

diligence, 18 U.S.C. § 3161(h)(7)(B)(iv), and that the ends of justice served by granting

defendant's motion for additional time outweigh the best interests of the public and defendant in

a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Therefore,

       IT IS FURTHER ORDERED that defendant's Motion for Extension of Time within

which to file motions is GRANTED.

       IT IS FURTHER ORDERED that the time granted by this Order to review discovery

and to prepare pretrial motions or a waiver thereof is excluded from computation of the latest

date for the trial setting as prescribed by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(A)

and (B)(iv).

       IT IS FURTHER ORDERED that not later than June 26, 2019, the parties may file any

relevant pretrial motion(s) and the parties shall respond to any such motions not later than July

3, 2019.

       IT IS FURTHER ORDERED that any pretrial motion seeking a court order for the

production of evidence or information from the opposing party, and each motion to suppress

evidence, shall contain a statement of counsel that movant's counsel has personally conferred

with counsel for the opposing party about the issue(s) raised in the motion(s), that there is a good

faith belief that the information or evidence exists about which discovery is sought or which the

defendant seeks to have suppressed, and (for motions for disclosure) that the disclosure of said

information or evidence has been refused by the opposing party. Any such motion not having

such attestation will not be considered or ruled by the Court.


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       IT IS FURTHER ORDERED that any motion to suppress shall set forth, with

particularity, the item(s) of evidence to which the motion is addressed, and shall set forth

specific factual details to support any claim that such evidence was unlawfully obtained. Any

motion to suppress not containing such specific information or any motion cast in conclusory or

conjectural terms will not be heard or considered by the Court. Each motion to suppress must

also include a memorandum of law setting forth the specific legal ground upon which it is

contended that any such item of evidenced was unlawfully obtained, with citations to authority.

Further the practice of adopting motions filed by other defendants will not be permitted without

prior leave of the Court.

       IT IS FURTHER ORDERED that any motion with respect to the sufficiency of an

indictment or information, including any motion to dismiss, shall set forth specific factual details

to support the motion. Any motion with respect to the sufficiency of an indictment or

information that is cast in conclusory or conjectural terms will not be heard or considered by the

Court. Any such motion must also include a memorandum of law setting forth the specific legal

ground(s) supporting the motion.

       IT IS FURTHER ORDERED that, if the defendant chooses not to file any pretrial

motions, counsel for the defendant shall file with the Court, not later than June 26, 2019, a

memorandum attesting that there are no issues that the defendant wishes to raise by way of

pretrial motion; that counsel has personally discussed this matter with the defendant; and that the

defendant agrees and concurs in the decision not to raise any issues by way of pretrial motions.

       IT IS FURTHER ORDERED that all deadlines set forth in this order include weekend

days and holidays. However, if a due date falls on a weekend or holiday, the due date for

compliance shall be the next work day.




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       IT IS FURTHER ORDERED that an evidentiary hearing on any pretrial motions will

be set upon further order of the Court. In the event the defendant elects not to file any pretrial

motions, no evidentiary hearing will be set and the case may be set for trial by the District Court.

       IT IS FURTHER ORDERED that the trial of this matter will be set following the

conclusion of pretrial proceedings.

       No extension time of any deadline set in this order will be granted except upon written

motion, made before the expiration of the deadline, and upon good cause shown. Failure to

timely file motions or requests, or to request an extension of time to do so, may be considered a

waiver of the right of a party to make such motions or requests, as set out in Fed. R. Crim. P.

12(c)(3).

                                              /s/John M. Bodenhausen
                                              JOHN M. BODENHAUSEN
                                              UNITED STATES MAGISTRATE JUDGE

Dated this 10th day of May, 2019.




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